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                     EXHIBIT 2
    Case 3:17-cv-00072-NKM-JCH Document 650-2 Filed 02/12/20 Page 2 of 3 Pageid#: 8646


Roy III, Daniel P.

From:                                     Ken Kim <kkim@idsinc.com>
Sent:                                     Friday, January 24, 2020 9:49 AM
To:                                       Roy III, Daniel P.
Cc:                                       Levine, Alan; Michael Bloch; iDS_SINKS-02678
Subject:                                  RE: Hopper Cell Phone



[External]

Hi Daniel:

We did receive an email from Mr. Hopper on Tuesday (1/21) letting us know that he would be shipping his device to us,
and we subsequently received his device yesterday. Our forensics team is currently in the process of imaging the device
and we should be able to provide the requested information once completed. We will keep you posted.

Regards,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




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From: Roy III, Daniel P. <droy@cooley.com>
Sent: Friday, January 24, 2020 9:37 AM
To: Ken Kim <kkim@idsinc.com>
Cc: Levine, Alan <alevine@cooley.com>; Michael Bloch <mbloch@kaplanhecker.com>
Subject: Hopper Cell Phone
Importance: High

Hi Ken,

Hope this finds you well. We received an email from Mr. Hopper last evening stating that he has finally provided his
current mobile device to you all. Are you in receipt of this device? If so, have you been able to access it and/or is there
any information recoverable on that device? Any color would be very helpful.

Thanks,

Dan


Daniel P. Roy III
Cooley LLP
55 Hudson Yards
New York, NY 10001-2157
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